     Case 1:12-cr-00035-DAD-BAM Document 93 Filed 03/17/16 Page 1 of 2


 1   BARBARA HOPE O’NEILL

 2   Attorney at Law

 3   2014 Tulare Street, Suite 510

 4   Fresno, California 93721

 5   Attorney for Bonnie Lynn Recinos

 6

 7

 8                                     UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:12-cr-000035-DAD-BAM
12                        Plaintiff,
13          v.                                         STIPULATION AND ORDER REGARDING
                                                       CONTINUANCE OF SENTENCING
14   BONNIE LYNN RECINOS,
15                        Defendants.
16

17                                            STIPULATION

18          Defendant by and through her counsel of record and Plaintiff by and through its counsel of

19   record, hereby stipulate as follows:

20          1. By previous order, this matter was set for a sentencing hearing on Monday, April 18,

21   2016 at 10:00 a.m.

22          2. By this stipulation, the parties now move to continue the sentencing date to November

23   7, 2016 at 10:00 a.m.

24          3. The parties agree and stipulate, and request that the Court grant the continuance due to

25   Ms. Recinos’ health issues.

26          4. Due to her multiple sclerosis and needing back surgery which is causing her pain,

27   defendant Recinos’ doctor will not let her travel to six months from April 8, 2016. As she has

28   many other medical issues that are also being treated at this time, she is requesting her sentencing
                                                      1
     Case 1:12-cr-00035-DAD-BAM Document 93 Filed 03/17/16 Page 2 of 2


 1   be postponed until November 7, 2016.

 2

 3   IT IS SO STIPULATED

 4                                                 Respectfully submitted,

 5

 6   DATED:        March 14, 2016                  /s/Barbara Hope O’Neill

 7                                                 BARBARA HOPE O’NEILL

 8                                                 Attorney for Bonnie Lynn Recinos

 9

10   DATED:        March 14, 2016                  /s/Henry Z. Carbajal, III

11                                                 Assistant United States Attorney

12

13                                          ORDER

14
     IT IS SO ORDERED.
15

16   Dated:   March 16, 2016
                                                  UNITED STATES DISTRICT JUDGE
17

18

19

20
21

22

23

24

25

26
27

28
                                              2
